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 7
 8                   UNITED STATES DISTRICT COURT
 9
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
12
13    UNITED        STATES            OF   )   No. CR 17-435 DMG
      AMERICA                              )
14
                                           )   DEFENDANT’S REPLY BRIEF TO
15                       Plaintiff,        )   GOVERNMENT’S OPPOSITION TO
16                                         )   THE DEFENDANT’S SENTENCING
17    vs.                                  )   POSITION
                                           )
18
      SHI SHAN PIAO                        )   Sentencing date: October 2, 2019
19                                         )
20                       Defendant         )
21                                         )
22
23
            Defendant,     Mr. Shi Shan Piao, submits his reply to the
24
25   Governments opposition to the sentencing position for this
26
     defendant which was submitted on September 17, 2019. It remains
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28
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30                                                                              1
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 1   to be the defense view that the prosecutions sentencing position
 2
     seeks what would be a severe over-sentence.
 3
 4   Dated: September 27, 2019
 5
 6
                                       LAW OFFICE OF PHILIP DEITCH
 7
 8                                     Philip Deitch
 9                                     ATTORNEY FOR DEFENDANT
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 1                                MEMORANDUM
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          Before the court is a near 50 year old illegal immigrant who, by
 3
 4   his own admission, participated with another person, for a limited
 5
     period of time, in a major bank fraud. Mr. Piao is prepared to accept
 6
 7   the full responsibility for his own role in the fraud, but, given the
 8
 9   extreme consequences that he faces, he is hopeful that this court
10
     would tailor it’s sentence to Mr. Paio’s own and personal
11
12   wrongdoing rather than include the independent misconduct of his
13
     named codefendant which was conducted by his co-defendant
14
15   independent of Mr. Paio’s knowledge or participation.
16
17        It is not irrelevant to the sentencing overview that it is the
18
     state of mind of the defense that upon the conclusion of Mr. Paio’s
19
20   United States Federal Court sentence he will be deported, most
21
     likely to China, which is not a human rights country. In China, the
22
23   defense projects that Mr. Piao faces severe but presently unknown
24
25   very serious consequences for his criminal activities that included
26
     citizens of China.
27
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30                                                                              3
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 1           The ability of the defense to respond factually to the projected
 2
     sentences included in the PSR and amplified in the governments
 3
 4   opposition is very limited. Much of that which Mr. Paio is accused of
 5
     would be included in his computer, which law enforcement
 6
 7   reviewed and seized, but is unavailable to the defense. To the extent
 8
 9   that the guideline calculations are projected from the extent of the
10
     loss,     Mr. Paio is unable except generally to corroborate his
11
12   contentions that the loss calculation that may be attributed to him
13
     based on the prosecution theme of joint responsibility is severely
14
15   overstated.
16
17           Mr. Paio urges that, except for a period of approximately a year
18
     in 2015, he expressly parted from Mr. Runze and that the balance of
19
20   the loss figure is exclusively the result of the conduct of Mr. Runze,
21
     the government cooperator’s independent conduct. In Mr. Piao’s
22
23   review of the overall loss calculation list of victims provided to the
24
25   defense by the prosecution, Mr. Piao does not even know of some
26
     of the victim banks that are described in that document.
27
28
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30                                                                              4
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 1        Although the earlier contention offered by the defense
 2
     regarding Mr. Paio’s limited abilities to participate in the overall
 3
 4   fraud,, based upon the fact that he neither speaks or writes English
 5
     or is competent on a computer was discounted in the prosecutions
 6
 7   memo, those facts are a significant limitations on Mr. Paio’s ability
 8
 9   to contribute to the fraud to which he has admitted. Me. Runze
10
     came to the United States at the age of 10 and was educated in
11
12   United States schools. That discrepancy in roles between the two co-
13
     defendants would appear to corroborate Mr. Paio’s contention that
14
15   he was not the major engineer of the fraud. That is further
16
17   corroborated by the fact that, during the period that Mr. Paio was a
18
     participant in the fraud, as set forth in the original defense
19
20   sentencing memo he only received a small percentage (10%) of the
21
     proceeds of the criminal venture. While that fact is not a defense, as
22
23   urged by the prosecution, it is somewhat mitigating.
24
25         The defense responds to the specific categories of violation
26
     specified in the prosecution opposition. The defense responses to
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 1   the defense opposition to the prosecution contentions are set forth
 2
     below under the category that appears in the prosecution memo.
 3
 4        A.    DEFENSE RESPONSE TO CONTENTION THAT THE
 5              DEFENSE OBJECTIONS SHOULD BE DISREGARDED
                AS UNTIMELY.
 6
 7
 8        It is the defense request that the court consider the positions
 9
      offered by the defense in its original defense sentencing
10
11    memorandum, which was not objected to when originally filed.
12
13    The defense would also request that the court give consideration
14
      to the issues as reaffirmed in this memorandum. Frankly, since
15
16    over a year has passed since the defense objections and sentencing
17
      memo were submitted, counsel does not recall the reasons for the
18
19    extensive delay. Counsel has been a criminal lawyer for over 60
20
21    years and would not overlook a filing deadline without a good
22
      reason. The fact that no objection was presented at the time
23
24    suggests that counsel had communicated a reason to the
25
      prosecution at the time. In hindsight, counsel is of the opinion that
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30                                                                              6
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 1    the delay may have been occasioned by the fact that counsel was
 2
      still impacted by still experiencing a serious vision issue called
 3
 4    “Giant Cell Arteritis.” Counsel had been treated for that ailment
 5
      earlier at Kaiser Permanente. That condition creates serious
 6
 7    limitations on ones ability to use a computer. Also, at the time,
 8
 9    Counsel’s wife, Carla, who is counsel’s paralegal and prepares
10
      most of the office documents from drafts prepared by counsel, was
11
12    experiencing a severe diabetic neuropathy. Thus counsel, who
13
      himself was limited, was left with the responsibility of
14
15    investigating, preparing and finalizing all of the office documents
16
17    with very limited assistance. The combination of the two illnesses
18
      had a serious but temporary impact on counsel’ practice.
19
20        Nonetheless, no objection was raised to the delayed by the
21
      prosecution to the delayed filing at the time. Accordingly, that
22
23    objection was likely waived. It was filed on June 17, 2019. The
24
25    objection was not offered until September 19, 2019.
26
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 1    B. DEFENSE RESPONSE TO CONTENTION THAT DEFENDANT
         OBJECTIONS TO THE ROLE ADJUSTMENT AND THE
 2
         2B1.1(B)(10) ARE INEFFECTIVE
 3
 4        The objection is based upon the contention that (1) the defense
 5
      denial of the role enhancements were insufficient, and (2) a
 6
 7    “substantial part of the conspiracy was committed from outside
 8
 9    the United States.
10
          The basis for the role enhancement denial rests on what has
11
12    been elaborated in this memorandum. The primary leader of this
13
      fraud was Mr. Runze who engineered and carried out the bulk of
14
15    the fraud.     That is not to say that Mr. Piao did not engage in
16
17    significant fraudulent conduct. He clearly did. But contrary to the
18
      assertion in the PSR he as not the “organizer and lynchpin” of the
19
20    criminal enterprise. The defense placing that contention before the
21
      court is entirely appropriate.
22
23        The denial regarding the two level increase for out of the
24
25    country activities stems from the fact that the enhancement
26
      requires that out of the country conduct to be a “substantial part”
27
28    of the fraud. It is the view of the defense           that fact that the
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30                                                                              8
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 1    documents were acquired in China was not a substantial part of
 2
      the activities.
 3
 4    C. DEFENSE RESPONSE TO THE CONTENTION THAT THE
 5       DEFENDANT WORK HISTORY IS FALSE
         Mr. Piao in fact had worked as a taxi driver. One of his roles
 6
 7    with regard to Mr. Runze was to drive him around in his taxi to the
 8
 9    locations designated by Mr. Runze. The fact that he was not able
10
      to work as a result of an auto accident is corroborated by looking
11
12    at Mr. Piao’s leg, which contains a huge scar resulting from that
13
      incident.
14
15    D. DEFENSE RESPONSE TO DEFENSE CONTENTION THAT
16       DEFENDANTS CLAIMED METHAMPHATIME ADDICTION IS
17       A PLOY
18
          Mr. Piao lived with a woman who was severely addicted to
19
20    methamphetamine. In time, he joined her in the use of that drug
21
      and became addicted along with her.              That fact may be an
22
23    explanation for the fact that a man with no previous history of
24
25    criminal activity at middle age began to engage in a significant
26
      fraud. The expenses of a major drug addiction are often
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 1     extraordinary. For that addiction to overcome a family can lead to
 2
       tragic results, as it did in this case.
 3
 4         For the prosecution to suggest that his addiction is a ploy
 5
       learned from other inmates at MDC is unfounded speculation.
 6
 7     While he has minimal contact with other Asians at MDC, his
 8
 9     inability to communicate with others because he does not speak
10
       English would seem to denounce that speculation. To the extent
11
12     that his methamphetamine addiction would provide Mr. Piao with
13
       sentencing or incarceration options should be appropriately
14
15     considered.
16
17     E. DEFENSE RESPONSE TO THE PROSECUTION BLAME
          SHIFTING CONTENTION
18
19         For the most part, the prosecutions objections have already
20
21     been addressed in this memorandum by the defense position,
22
       supra,     regarding role. The defense will not repeat those
23
24     contentions.
25
           The prosecution memo makes reference to Mr. Paio pointing
26
27     out Mr. Piao focus on his computer as a factor to consider
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30                                                                               10
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 1     regarding the extent of his involvement in the fraud. The nature of
 2
       the fraud assertions in this case would lead to the inference that
 3
 4     the substantial use of a computer is vital to the commission of the
 5
       underlying crime. Mr. Paio invites an examination of the content of
 6
 7     his computer as an indication that his participation in the fraud is
 8
 9     limited and not as extensive a expressed by the prosecution.
10
       F. DEFENSE RESPONSE TO CONTENTION THAT MR. PIAO HAS
11        SUBMTTED CONTRADICTORY CLAIMS.
12
13         Without access to his computer, Mr. Piao can only estimate the
14
       proceeds that he obtained from his participation in the fraud.
15
16     While he can only estimate that amount from his memory, he
17
       certainly is able to reject the contention that he personally
18
19     received $1,697, 186.49 from the fraud (para. 21 PSR). Nothing in
20
21     his lifestyle suggests that he received sums even approaching that
22
       amount. In fact, as pointed out in the earlier defense memo, he
23
24     needed to borrow money from the government informant to
25
       survive. That fact corroborates the defense contention that he did
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 1     not receive the sums attributed to him by the prosecution, and that
 2
       also amplifies his contention regarding the impact of his meth use.
 3
 4     G. DEFENSE RESPONSE TO THE PROSECUTION OBJECTION TO
 5        THE DEFENDANTS VIEW THAT CITIZENSHIP AND LACK OF
          ENGLISH ARE MITIGATING FACTORS
 6
 7         The impact of a court’ sentence on a defendant is not an
 8
 9     irrelevant consideration. It has been and still is true that a prison
10
       sentence for a foreign person is more difficult than for an English
11
12     speaking individual. It is not an irrelevant consideration for a
13
       sentencing Judge.      It is further a consideration that he will
14
15     potentially need to be subjected to the whims of a country that
16
17     does not consider human rights. A prosecutor’s view that raising
18
       those factors is somehow improper is a reflection of prosecutorial
19
20     insensitivity to the human condition.
21
       H. MR. PIAO HAS DEMONSTATED ACCEPTANCE OF
22
          RESPONSIHILITY
23
24         The contention that Mr. Piao has not demonstrated acceptance
25
       of responsibility distorts the reality of Mr. Piao’s conduct. It should
26
27     be noted that at least on three occasions, and likely more, he has
28
29
30                                                                               12
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 1     met with law enforcement and prosecutors to discuss his
 2
       involvement in the case. Mr. Piao does not deny his involvement in
 3
 4     the fraud that he committed and early in the case he plead guilty to
 5
       the charges and confessed his actions in open court. He signed a
 6
 7     plea agreement that detailed his crimes. Mr. Piao has set forth in
 8
 9     detail earlier, and in this memo, his              legitimate personal
10
       contentions that justify a lesser sentence. That is his right under
11
12     the law and under the Criminal Justice System. Doing so appears to
13
       be a novel option to the prosecutor, who mischaracterizes those
14
15     efforts as a fraud on the court.
16
17         Therefore, the defense opposes the prosecutions contention
18
       that Mr. Piao has attempted to obstruct justice and has therefore
19
20     lost acceptance of responsibility. The defense further emphatically
21
       denies the contention that he has attempted a fraud on the court.
22
23     That assertion is an absurd distortion of the reality of the
24
25     defendants position.
26
       Dated: September 27, 2019          LAW OFFICE OF PHILIP DEITCH
27
28                                        Philip Deitch
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30                                                                               13
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